
PER CURIAM.
We affirm the final judgment of foreclosure in all respects, except for the award of legal fees, attorney's fees, and inspection costs. Because no evidence was introduced at trial to substantiate the award of $ 40,376.38 in legal fees, $ 2647.50 in attorney's fees, $ 915 in inspection costs, and $ 157.50 in other costs, we reverse the award of said fees without remand.1 See Mkt. Tampa Invs., LLC v. Deutsche Bank Nat'l Tr. Co. for Novastar Mortg. Funding Tr., Series 2007-I, 216 So.3d 783, 783 (Fla. 2d DCA 2017) ("[W]e reverse the attorney's fee award in the foreclosure judgment without remand because the award is not supported by competent, substantial evidence." (citing Michel v. Bank of N.Y. Mellon, 191 So.3d 981, 984 (Fla. 2d DCA 2016) ) ).
AFFIRMED in part, REVERSED in part.
ORFINGER, BERGER and WALLIS, JJ., concur.

We commend Appellee's counsel for conceding error on this point at oral argument.

